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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                   (Eastern Division)



 In re
                                                      Chapter 11
 MARINER SEAFOOD, LLC
                                                      Case No. 20-11870-MSH
                        Debtor



                           ORDER GRANTING DEBTOR’S
                       MOTION FOR USE OF CASH COLLATERAL

         This matter having come before the Court on the Motion For an Order (1) Authorizing

the Use of Cash Collateral, (2) Granting Replacement Liens, (3) Scheduling a Hearing on the

Further Use of Cash Collateral, and (4) Granting Other Relief (the “Cash Collateral Motion”)

(ECF No. 5) filed by Mariner Seafood, LLC (the “Debtor”), the debtor and debtor-in-possession

in the above captioned case; and the Court having considered the Cash Collateral Motion, the

Affidavit of John P. Flynn in Support of First Day Motions (ECF No. 10), and the evidence

submitted or adduced and the arguments of counsel made at the hearings held on September 16,

2020 and October 1, 2020 (the “Hearings”); and notice of the Hearings having been given in

accordance with Rules 2002, 4001(b), (c), and (d), and 9014 of the Federal Rules of Bankruptcy

Procedure and MBLR 4001-2(b); and the Hearings having been held and concluded; and all

objections, if any, to the relief requested in the Cash Collateral Motion having been withdrawn,

resolved, or overruled by the Court; and after due deliberation and consideration, and for good

and sufficient cause appearing for the entry of this order; the Court:




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        FINDS AS FOLLOWS:

        A.      On September 14, 2020, the Debtor filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) with the Court. Since

the Petition Date, the Debtor has operated as a debtor-in-possession unders §§ 1107 and 1108 of

the Bankruptcy Code.

        B.      This Court has jurisdiction over the Debtor’s chapter 11 case and the Cash

Collateral Motion pursuant to 28 U.S.C. §§ 157(b) and 1334. The Cash Collateral Motion is a

“core” proceeding as defined in 28 U.S.C. § 157(b)(2).

        C.      Notice of the Hearings was properly given in accordance with Rules 4001 and

9014 of the Federal Rules of Bankruptcy Procedure.

        D.      The United States Trustee (the “U.S. Trustee”) filed a notice of appointment of an

official committee of unsecured creditors in this case (the “Creditor’s Committee”) on October 2,

2020 (ECF No. 66) and no trustee or examiner has been appointed.

        E.      Wells Fargo Credit Facility. Prior to the Petition Date, Wells Fargo Bank, NA

(“Wells Fargo”) made certain term and revolving credit advances to the Debtor pursuant to

various loan documents (the “Loan Documents”) that include a security agreement. As of the

Petition Date, Wells Fargo asserts that the Debtor owes Wells Fargo in excess of $4,000,000.00,

plus accrued and accruing interest, fees, costs, expenses, and costs of collection (including,

without limitation, reasonable attorneys’ fees) as set forth in the Loan Documents, to the extent

allowable pursuant to § 506(b) of the Bankruptcy Code. Wells Fargo asserts that all amounts

owed by the Debtor are secured by valid, perfected, and unavoidable first priority liens and

security interests in substantially all of the Debtor’s assets, including its cash collateral, as that
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term is defined in § 363(a) of the Bankruptcy Code, in which Wells Fargo or any other entity

may assert an interest (the “Cash Collateral”).

       F.      Prior to the Petition Date, Wells Fargo Equipment Finance, Inc. (“Wells Finance”,

and together with Wells Fargo the “Wells Entities”) provided Mariner with a term loan to fund,

among other things, equipment purchases. As of the Petition Date, Wells Finance asserts that the

Debtor owes Wells Finance not less than $540,000.00, plus accrued and accruing interest, fees,

costs, expenses, and costs of collection (including, without limitation, reasonable attorneys’

fees), to the extent allowable pursuant to § 506(b) of the Bankruptcy Code. Wells Finance

asserts that all amounts owed by the Debtor are secured by valid, perfected, and unavoidable first

priority liens and security interests in substantially all of the Debtor’s assets, including its Cash

Collateral.

       G.      The owners of five (5) cold storage facilities in which the Debtor stores inventory

(the “Storage Facility Owners”, and together with the Well Entities the “Lien Parties”) may

assert a lien on Cash Collateral.

       H.      Contemporaneously with the filing of the Cash Collateral Motion, the Debtor filed

its Expedited Motion by Debtor And Debtor-In-Possession to (I) Sell Substantially All of Its

Assets by Private Sale, Free And Clear of Liens, Claims, Interests, And Encumbrances And (II)

Approve Bid Procedures Related to Sale (the “Sale Motion”), pursuant to which it proposes to

sell substantially all of its assets as a going concern (the “Sale”). In conjunction with the Sale,

Wells Fargo has agreed, conditioned upon the closing of the Sale, to provide a carve-out, from

the proceeds of the Sale: (i) of $417,000 to be used to pay the professional fees and costs of the

Chapter 11 bankruptcy estate’s professionals (the “Fee Carve Out”); and (ii) for any quarterly or

other fees incurred during the Budget Period (as defined below) and payable to the U.S. Trustee



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pursuant to 28 U.S.C. § 1930(a) (the “UST Carve Out”, and together with the Fee Carve Out the

“Carve Out”). Provided that Wells Fargo receives a total of not less than $2,350,000.00 from the

Sale at the time of the closing, the Wells Entities have consented to the Sale and the Sale Motion.

        I.       The Debtor has presented evidence that (i) its ability to maintain relationships

with its vendors, suppliers and customers, and to pay its day-to-day expenses, is essential to the

Debtor’s continued viability and (ii) absent the use of Cash Collateral: (a) it does not have

sufficient available sources of working capital and financing to carry on the ordinary course

operation of its business; (b) the continued operation of the Debtor’s business would not be

possible, and serious and irreparable harm to the Debtor, its assets and its estate would occur;

and (c) it will not be possible to preserve the Debtor’s going concern value and the opportunity

presented in the Sale Motion would be lost.

        J.       The Debtor’s need to use Cash Collateral is immediate and critical to enable the

Debtor to administer its chapter 11 case generally, continue to operate its business, pay its usual

and customary expenses in the normal course, and preserve the value of the estate for all

stakeholders.

        K.       Subject to the terms and conditions of this order, the Wells Entities are willing to

permit the Debtor to use Cash Collateral solely for the purposes set forth in, and in accordance

with the terms and conditions of, the Budget (as defined below), and has stipulated to the entry

of this order.

        L.       The terms of Cash Collateral arrangement described in this order are fair and

reasonable, reflect the Debtor’s exercise of prudent business judgment consistent with its

fiduciary duties, and are supported by reasonably equivalent value and fair consideration. The
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terms of the Debtor’s use of Cash Collateral set forth in this order were negotiated in good faith

and at arms’ length between the Debtor and Wells Fargo.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED:

       1.      Capitalized terms not otherwise defined in this order shall have the meanings

ascribed to them in the Cash Collateral Motion.

       2.      The Cash Collateral Motion is granted as set forth in this order. Any objections to

the Cash Collateral Motion, to the extent not withdrawn or resolved, are hereby overruled.

       3.      The Debtor is authorized to use Cash Collateral through and including October

30, 2020 (the “Budget Period”), in accordance with the budget attached as Exhibit A (the

“Budget”), except that in the week ending 10/30/20:

               a.      The amount in line “Professional fees – M&K and SMSL” shall be
                       reduced from $70,000 to $10,000; and

               b.      The amounts in lines “Tully and Holland – M&A” and “US Trustee” shall
                       be reduced to $0.

Commencing two weeks from the date of this order and continuing every two weeks thereafter,

the Debtor shall deliver to the Storage Facility Owners, the Wells Entities and the Wells Entities’

counsel a variance report from the previous two-week period comparing the Debtor’s actual

receipts and disbursements with the receipts and disbursements in the Budget. The Debtor’s

actual disbursements shall not exceed the aggregate of the total disbursements set forth in the

Budget for the Budget Period by more than fifteen percent (15%). The Debtor shall also provide

to the Lien Parties a copy of the Debtor’s monthly operating report submitted to the U.S. Trustee.

       4.      All amounts to be paid from Cash Collateral, in accordance with the Budget and

on account of Professional Fees, Consultant Fees and fees owed to the U.S. Trustee pursuant to

28 U.S.C. § 1930(a) during the Budget Period, shall be remitted to Murphy & King, Professional

Corporation (“M&K”), to be held in M&K’s client funds’ IOLTA account and disbursed, only

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upon further order of the Court, to the court-approved Chapter 11 professionals of the debtor’s

estate for fees and expenses as ordered by the Court, and to the U.S. Trustee, with any remainder,

after the payment of all allowed fees and expenses of the Chapter 11 professionals of the debtor’s

estate, to be turned over to the estate represenative. Upon the closing of the Sale, the amount of

$384,000 shall be remitted to M&K’s client funds’ IOLTA account consisting of the following

line items in the Budget provided however that (a) and (b) may only be disbursed upon further

order of the Court:

               a.      Professional fees – M&K and SMSL: $60,000;

               b.      Tully and Holland – M&A: $250,000; and

               c.      US Trustee: $74,000.

Any Cash Collateral held in M&K’s IOLTA account and paid on account of the Carve Out shall

be credited against the Carve Out. In the event that the Sale does not close and the Wells Entities

chose not to consent to the use of the cash reserved in M&K’s IOLTA account for the purposes

set forth in the Carve Out, then the Debtor’s waiver of its rights under § 506(c) of the

Bankruptcy Code, described in paragraph 8 of this order, shall be null and void, and of no effect.

       5.      For the purposes of §§ 361, 363(e) and 507(b) of the Bankruptcy Code, as

adequate protection for the Debtor’s use of Cash Collateral, and subject only to the Carve Out,

the Lien Parties are granted replacement liens (the “Replacement Liens”) on the same types of

post-petition property of the Debtor’s estate against which the Lien Parties held liens as of the

Petition Date. The Replacement Liens shall maintain the same priority, validity and

enforceability as the Lien Parties’ respective pre-petition liens. The Replacement Liens shall be

recognized only to the extent of the post-petition diminution in value of the Lien Parties’

respective pre-petition collateral resulting from the Debtor’s use of Cash Collateral.
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       6.      The Replacement Liens shall not attach to any avoidance powers held by any of

the Debtor or any trustee for the Debtor, including those avoidance powers set forth in §§ 544,

545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code, or to the proceeds of any claims

under or actions commenced pursuant to such powers.

       7.      The Lien Parties shall have all rights and entitlements afforded by § 507(b) of the

Bankruptcy Code.

       8.      Waiver of § 506(c) Rights. Subject to paragraph 4 of this order, and in

consideration for the Carve Out, any rights of the Debtor to surcharge the Wells Entities

and/or their collateral pursuant to § 506(c) of the Bankruptcy Code during the Budget

Period has been waived by the Debtor. This is a variance from the requirements of MLBR

4001-2(c). Nothing herein shall effect the Debtor’s rights under § 506(c) after expiration of

the Budget Period, which rights are hereby specifically preserved.

       9.      Acknowledgment of Lien. For all purposes in this bankruptcy case,

including in any subsequent chapter 7 proceeding, and in consideration of the Carve Out,

the Debtor acknowledges and admits that the Wells Entities claims are secured by valid,

enforceable, and perfected, first priority liens on and security interests in substantially all

of the Debtor’s assets; provided that, any Official Committee of Unsecured Creditors,

Chapter 11 Trustee, or Chapter 7 Trustee appointed by the U.S. Trustee shall be permitted

to challenge the validity, enforceability and/or perfection of the Wells Entities’ liens, but

only as to any such matter that is the subject of an actual claim, right, cause of action, or

challenge filed with the Court on or before the ninetieth (90th) day following the filing of the

notice of appointment of the Official Committee of Unsecured Creditors (as such deadline

may be extended by the Wells Entities).



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        10.    Nothing in this order shall constitute a waiver by or restrict the Debtor’s right to

seek the further use of Cash Collateral.

        11.    This Court has not been asked to find, and it does not find, that any asserted

security interest or lien is valid or perfected. Nothing contained in this order is intended, or shall

be deemed, to be a ruling on the extent or validation of any creditor’s asserted security interest or

lien.

        12.    The entry of this Order is without prejudice to, and does not constitute a waiver

of, expressly or implicitly, or otherwise impair: (a) Wells Fargo’s right to seek any other or

supplemental relief in respect of the Debtor, including the right to seek additional adequate

protection; (b) Wells Fargo’s rights under the Bankruptcy Code or under non-bankruptcy law,

including, without limitation, the right to (i) request modification of the automatic stay of section

362 of the Bankruptcy Code, (ii) request the dismissal or conversion of this bankruptcy case, or

(iii) request the appointment of a chapter 11 trustee or examiner with expanded powers; or (c)

any other rights, claims, or privileges (whether legal, equitable, or otherwise). Wells Fargo’s

consent to this order shall not be deemed an admission of any fact or a waiver of any right.

        13.    Within three (3) business days after entry of this order, the Debtor shall serve, or

cause to be served, by first class mail or other appropriate method of service, a copy of this order

on the Notice Parties.

        14.    Notwithstanding any applicability of any Bankruptcy Rules, the terms and

conditions of this order shall be immediately effective and enforceable upon its entry.
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       15.     Retention of Jurisdiction. The Court has and will retain jurisdiction and power to

enforce this order in accordance with its terms and to adjudicate any and all matters arising from

or related to the interpretation or implementation of this order.




                                              _______________________________________
                                              Melvin S. Hoffman
                                              United States Bankruptcy Judge
Dated: October 5, 2020




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                               EXHIBIT A
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Mariner Seafood - Cash Collateral Projections
In Thousands of Dollars                                         Sep        Sep         Sep         Oct          Oct          Oct          Oct
                                   WEEK-->                       1          2           3           4            5            6            7        Total
                                   WEEK ENDING->                9/18/20    9/25/20     10/2/20     10/9/20     10/16/20     10/23/20     10/30/20
                  Total Sales                                     590        590         590         590          590          590          590       4,130
  Beginning Cash                                                  211        220         260         181          208          254          297
Cash Receipts
 Accounts receivable collections                                  568        590         590         590          590          590           590      4,108
 Other receipts - Non-AR                                          -          -           -           -            -            -           2,750      2,750
      Total       Cash Receipts                                   568        590         590         590          590          590         3,340      6,858
Operating Disbursements
 Salaries - general, administrative and indirect                    22         22          22          22           22           22           22        154
 Employee benefits                                                -          -              7          11         -            -            -            18
 Direct materials - current purchases                             312        312         312         312          312          312          312       2,181
 Direct labor - current labor                                     135        135         135         135          135          135          135         945
 Insurances                                                          8       -           -           -            -            -            -             8
 Rent - 14 South St, 86 McArthur Dr, 11 Hassey St and Darn It     -          -             34        -            -            -            -            34
 Utilities                                                        -          -             31        -            -            -            -            31
 Professional fees - M&K and SMSL                                    15        10          10          10           10           10           70        135
 Consultant - Navera                                                 3          3           3           2            2            2            2         17
 Tully and Holland - M&A                                          -          -           -           -            -            -            250         250
 Consultants/temp labor                                              2          2           2           2            2            2            2         14
 US Trustee                                                       -          -           -             10         -            -              74         84
 Creditor committee attorney                                         3          3           3           2            2            2            2         17
 Freight                                                            18         18          18          18           18           18           18        126
 Office supplies/expenses                                            1          1           1           1            1            1            1          7
 Repair and maintenance                                               1          1           1           1            1            1            1         7
 Manufacturing supplies/plant expenses - current purchases           32         32          32          32           32           32           32       224
 Equipment rent/lease - Wells Fargo                                  4       -           -           -               4         -            -             8
 Uniforms for production                                             1          1           1           1            1            1            1          7
 Storage/terminal fees                                               1          8        -           -               1            8         -            18
 Third party production/inspection                                   1          1           1           1            1            1            1          7
 Automobile/leases                                                -          -              3        -            -            -            -             3
 Other AP disbursements                                              1          1           5           1            1            1            1         11
      Total       Operating Disbursements                         559        550         621         561          544          548          924       4,306
                                        Operating Cash Flow            9          40      (31)            29           46           42     2,416      2,552
Other disbursements
 Wells Fargo - principal                                           -          -           -           -            -            -          2,350      2,350
 Adequate Protection Payment                                       -          -               20      -            -            -            -           20
 Wells Fargo - bank fees                                           -          -           -               2        -            -            -            2
 Wells Equipment - P&I                                             -          -               16      -            -            -            -           16
 Ryder - capital lease                                             -          -               12      -            -            -                        12
 Total Other disbursements                                         -          -               48          2        -            -          2,350      2,400
                                              Net Cash Flow            9          40      (79)            27           46           42        66        152

  Cash balance                                                     220        260         181         208          254          297          363        363
  Beginning A/R                                                  2,562      2,584       2,584       2,584        2,584        2,584        2,584      2,562
  Revenue                                                          590        590         590         590          590          590          590      4,130
  Cash Receipts                                                   (568)      (590)       (590)       (590)        (590)        (590)        (590)    (4,108)
  Ending A/R                                                     2,584      2,584       2,584       2,584        2,584        2,584        2,584      2,584

  Beginning inventory                                            1,748      1,758       1,767       1,776        1,785        1,795        1,804      1,748
  Inventory - sales                                               (302)      (302)       (302)       (302)        (302)        (302)        (302)    (2,116)
  Inventory - purchases                                            312        312         312         312          312          312          312      2,181
  Ending inventory                                               1,758      1,767       1,776       1,785        1,795        1,804        1,813      1,813
